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                  IN THE UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF GEORGIA
                            DUBLIN DIVISION

TERESA POPE HOOKS, individually,    *
and ESTATE OF DAVID HOOKS,          *
by Teresa Pope Hooks, Administratrix,
                                    *
                                    *
     Plaintiffs,                    *
                                    *                       CASE NO:
VS.                                 *                 3:16CV00023-DHB-BKE
                                    *
CHRISTOPHER BREWER, et al.,         *
                                    *
     Defendants.                    *
___________________________________ *


                     MOTION FOR LEAVE OF ABSENCE

      COMES NOW BRIAN SPEARS, and requests the Court grant him a leave

of absence from this Court for the following periods: December 22, 2021 – Jan 4,

2022, Feb 23 – 24, 2022, March 11 – 18, 2022, and May 6 – 10, 2022. Counsel shows

to the Court that during the periods of time set forth, he will be out of the state for

professional development and family vacation. No proceedings are set in this

action which require his appearance during these periods of time.

      WHEREFORE, Brian Spears respectfully requests that his Motion for Leave

of Absence be granted and that no proceedings be scheduled or held in the above-

styled matter during the periods set forth above.


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 Submitted this 11th day of November, 2021.




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                          CERTIFICATE OF SERVICE

      I hereby certify that on November 11, 2021, I electronically filed the

attached with the Clerk of Court using the CM/ECF system which will

automatically send email notification of such filing to all counsel of record.




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